     Dated: 1/26/2022




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE

   IN RE:                                              }       Case No. 3:21-bk-02597
   JULIE ANNE STAMPS                                   }
   2620 NEW SALEM HIGHWAY, APT R306                    }       Chapter 13
   Murfreesboro, TN 37128                              }
   SSN: xxx-xx-2454                                    }       Judge Charles M Walker
                                                       }
          Debtor(s)                                    }

     ORDER DENYING TRUSTEE’S MOTION TO DISMISS FOR FAILURE TO
                                 CONFIRM PLAN
        This matter was set to come before the Court on January 26, 2022 upon the

   Trustee's Motion to Dismiss Case for failure to Confirm plan but was resolved prior to

   the hearing. The Debtor having confirmed her plan by separate order; IT IS HEREBY

   ORDERED that the Trustee’s Motion to Dismiss for Failure to Confirm Plan shall be

   DENIED.

          IT IS SO ORDERED.

          This order was electronically signed and entered as indicated at the top of the
          first page.


   APPROVED FOR ENTRY:
   ___/s/ Daniel Castagna_______
   Daniel Castagna, BPR #022721
   Attorney for Debtor
   1900 Church St, Suite 400
   Nashville, TN 37203
   (615) 255-2893
   fax: (615) 242-8849
   cm-ecf@jamesflexerconsumerlaw.com




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                               CERTIFICATE OF SERVICE

          I hereby certify that on January 26, 2022 I furnished a true and correct copy of the
   foregoing to the following parties in interest:

          Henry E. Hildebrand, III                                     Electronic
          Chapter 13 Trustee
          P.O. Box 340019
          Nashville, TN 37203

          U.S. Trustee                                                 Electronic
          318 Customs House, 701 Broadway
          Nashville, TN 37203

          Julie Stamps                                                 U. S. Mail First Class
          2620 New Salem Hwy
          APT R306
          Murfreesboro, TN 37128

          3 notices have been served.

          I have mailed 1 notice.

                                                        /s/ Daniel Castagna
                                                        Daniel Castagna




                                                                    This Order has been electronically
                                                                    signed. The Judge's signature and
                                                                    Court's seal appear at the top of the
                                                                    first page.
                                                                    United States Bankruptcy Court.

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